         Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 1 of 17


 

 

                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS



ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,
               Plaintiffs,
                                                       Civil Action No. 1:18-cv-11028-GAO
                       v.
MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,
               Defendants.

 

                      DECLARATION OF DR. MARK HORENSTEIN
 
       I, MARK N. HORENSTEIN, Ph.D., hereby declare as follows:

       1.      My name is Mark Horenstein, and I am a Professor of Electrical Engineering at

Boston University. I have over 40 years of experience in electromagnetics, electric power

systems, electronic design, and integrated circuits.

       2.      I have been retained by Analog Devices, Inc. and Hittite Microwave LLC

(collectively, “Analog”), the plaintiffs in the above-captioned action, to consult as an expert on

some of the technology at issue in this lawsuit.

       3.      I have personal knowledge of, and expert opinions regarding, the facts set forth in

this declaration. If called upon as a witness, I could and would testify competently to the

statements made in this declaration.
         Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 2 of 17


                                                     



   I.        QUALIFICATIONS

        4.        I received my Ph.D. from the Massachusetts Institute of Technology in 1978,

where I studied in the Electric Power Systems Engineering Laboratory. As a graduate student, I

designed electronic circuits as part of my dissertation on high-voltage insulation. Also as a

graduate student, I served as the Graduate Teaching Assistant for courses in electronics and

circuit design.

        5.        I also attended MIT as an undergraduate, where I obtained a bachelor’s degree in

Electrical Engineering in 1973. I completed my master’s degree in Electrical Engineering at the

University of California at Berkeley in 1975, working in the area of solid-state devices and

integrated circuit devices.

        6.        After completing my Ph.D., I worked for one year as a research scientist in the

High-Voltage Pulsed-Power Division at Spire Corporation. At Spire, I performed such tasks as

power supply design, insulation testing, and the use of pulsed power as a tool for annealing

semiconductor wafers after ion implantation.

        7.        In 1979, I joined the faculty of Boston University as an Assistant Professor of

Electrical and Computer Engineering. I presently serve as a Professor in the Department of

Electrical and Computer Engineering. During my time at Boston University, I also have served

in administrative roles, including as the Associate Dean for Graduate Programs and Research

(Engineering), and the Associate Chair for Undergraduate Programs (Electrical and Computer

Engineering Department).

        8.        I have consulted with companies in the areas of electronic circuits. In the 1990s, I

designed two circuit-based devices that became commercial products. I have also designed for


                                                   2
          Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 3 of 17


                                                    

commercial purposes a circuit used to actuate micro-electromechanical devices made via surface

micromachining of silicon wafers.

         9.      At Boston University, I teach courses on electric circuits, analog electronics,

power electronics, electromagnetics, including rf systems, robotics, and engineering design.

         10.     I am the author of a textbook on electronic circuit design, including

semiconductor layout and device physics, entitled, Microelectronic Circuits and Devices (first

and second editions, Pearson Prentice-Hall, 1990, 1996). Over the years, this textbook has been

used in undergraduate courses in electronics at over 50 schools and colleges, and is still in use

today at some universities, including Boston University. It has also served, and still does serve,

as a reference text by instructors of electronics at numerous academic institutions.

         11.     I am a named inventor on five United States patents.

         12.     My education and work background, list of publications, and list of my testimony

at previous depositions and trial are set forth in my curriculum vitae attached as Exhibit A.

         13.     I am being compensated for my time spent in connection with this case at a rate of

$325 per hour. My compensation does not depend on the opinions that I may form or on the

outcome of this case.

   II.         MATERIALS REVIEWED

         14.     The opinions herein are based on my personal knowledge, education, and

expertise. In preparing this declaration, in addition to the items mentioned in this report, I

reviewed and considered at least the items listed in Exhibit B.




                                                   3
           Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 4 of 17


                                                      

   III.         ANALOG’S ‘752 PATENT

          15.     United States Patent No. 9,425,752 (the “‘752 patent”) is titled, “Distributed

Amplifier With Improved Stabilization.” The ‘752 patent discloses improvements over a

traditional distributed amplifier. A copy of the ’752 patent is attached as Exhibit C.

          16.     A basic building block of an amplifier is a transistor. A single transistor together

with other passive circuit components can perform an amplifying function, or multiple transistors

can be combined into more complex amplifier circuits. Transistors can also provide other

functions within circuits. There are different types of transistors, but the type used in the ‘752

patent is known as a MOSFET (metal-oxide semiconductor field effect transistor) , or sometimes

just FET (field effect transistor). An FET has an input terminal called the gate and two other

terminals called the source and the drain. The ‘752 patent uses a type of multi-transistor

amplifier configuration known as a cascode amplifier, and in some implementations, uses

multiple cascode amplifiers with three FETs arranged in a stack (a “triple stack amplifier”). To

enhance stability in distributed amplifiers so that they provide a consistent and expected output

across all the frequencies, the patent also discloses that feedback networks “may be connected

between the drain and gate electrodes of one or more of the common-gate transistors.” (‘752

patent, 6:17-26.) The patent further discloses other ways of stabilizing the amplifier, including

the use of a resistor and a capacitor connected in series between the gate of one or two of the

FETs in the stack and a ground node. (See e.g. claim 16.)

   IV.          LEGAL STANDARDS

          17.     Counsel for the plaintiffs has informed me of some of the relevant legal standards

to be applied in this case. I understand, for example, that a patent infringement determination is

made by comparing the patent claim at issue to the accused products. I also understand that


                                                    4
         Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 5 of 17


                                                    

patent infringement is shown by proving that the accused device has each and every claim

limitation of the asserted claim, either literally or under the doctrine of equivalents.

        18.      I understand that under the doctrine of equivalents, a limitation in the accused

product is equivalent to a claim limitation if the differences between the two are insubstantial. I

also understand that one of the ways insubstantially may be found is by determining whether a

particular element of the accused device performs substantially the same function, in

substantially the same way, to obtain substantially the same result as the claim limitation at issue.

        19.      I understand that dependent claims include each and every limitation of the claim

or claims on which they depend, and that to show infringement of a dependent claim, in addition

to showing that the accused device meets each and every limitation recited in the dependent

claim, plaintiffs must show that the accused device meets each and every limitation of the claims

on which the dependent claim depends. Where I discuss infringement of dependent claims, I

incorporate into each such dependent claim my analysis and discussion with respect to the claim

or claims upon which each such dependent claim depends.

        20.      As the claims have not yet been construed by the Court, I will interpret the claim

language here according to the plain and ordinary meaning that it would have had to a person

having ordinary skill in the art at the time of the invention. Should the Court later construe any

of the patent claims in ways that conflict with my interpretation, I will supplement this

declaration as necessary to address the infringement analysis pursuant to the Court’s

constructions.

   V.         MACOM’S INFRINGEMENT OF THE ‘752 PATENT

        21.      In preparing this declaration, I have studied photographs of the MACOM MAAP-

011247 power amplifier. These photographs were provided to me by counsel for plaintiffs and


                                                   5
        Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 6 of 17


                                                 

are attached as Exhibits D, E, F, G, and H . I have also studied data sheets for the MAAP-

011247 and MAAP-011247-DIE, attached as Exhibits I and J respectively.

       22.     From my review of these data sheets, photographs, and the various components

pictured therein, it is my opinion that the MACOM MAAP-011247 and MAAP-011247-DIE

power amplifiers (collectively, “MAAP-011247”) each infringe at least claims 15, 16, and 17 of

the ‘752 patent.

       23.     I have provided my infringement analysis and opinions in the claim charts below.

 




                                               6
        Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 7 of 17


                                                   



U.S. Patent No. 9,425,752                     MAAP-011247 Power Amplifier

15. A distributed amplifier   The MAAP-011247 amplifier is a type of distributed power
comprising:                   amplifier. Its data sheet describes the device as a “2 W
                              distributed power amplifier. . .” (Ex. I at 1; see also Ex. J at 1.)

an input transmission line;




an output transmission
line;




                                                 7
         Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 8 of 17


                                                   

and a plurality of cascode
amplifiers each coupled
between the input
transmission line and the
output transmission line,




                                A cascode amplifier is generally speaking a vertically oriented
                                stack of two or more transistors, in this case MOSFETs (“FETs”
                                for short), where the gate of the bottom transistor may be driven
                                by a signal, and the output may be taken from the drain of the
                                uppermost MOSFET. The drain of the lower MOSFET may be
                                connected to the source of the MOSFET above it, and the gate of
                                the latter may be connected to signal ground.




wherein a first cascode
amplifier of the plurality of
cascode amplifiers
comprises: three or more
field effect transistors
(FETs) arranged in a stack,
wherein the three or more
FETs comprises a first
FET, a second FET, and a
third FET,




                                                  8
         Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 9 of 17


                                        

wherein the first FET
includes a gate coupled to
the input transmission line,




wherein the second FET is
positioned between the
first FET and the third FET
in the stack,




and wherein the third FET
includes a drain coupled to
the output transmission
line;




                                       9
        Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 10 of 17


                                        

and a first stabilization
circuit coupled to a gate of
the third FET, wherein the
first stabilization circuit
comprises a first resistor
and a first capacitor
electrically connected in
series,




                                      10
       Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 11 of 17


                                       

wherein the first FET is
configured to generate an
amplified signal by
amplifying an input signal
received at the gate of the
first FET from the input
transmission line, wherein
the first FET is further
configured to provide the
amplified signal to the
output transmission line
through the second FET,
from a source of the second
FET to a drain of the
second FET, and through
the third FET, from a
source of the third FET to
the drain of the third FET.




                                     11
        Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 12 of 17


                                        

16. The distributed
amplifier of claim 15,
wherein the first resistor
and the first capacitor are
electrically connected in
series between the gate of
the third FET and a ground
node.




17. The distributed
amplifier of claim 15,
further comprising a
second stabilization circuit
coupled to a gate of the
second FET.




 




                                      12
         Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 13 of 17


                                                    

   VI.         CERTAIN FEATURES OF MACOM’S MAAP-011247 AMPLIFIER CHIP

         24.     I have been informed by counsel that Analog is asserting in the litigation that

certain of its trade secret designs for MMIC amplifiers were misappropriated by MACOM. I

have been informed that Analog is asserting in the litigation that at least the following design

features for MMIC distributed power amplifiers are its trade secrets:




         25.     I am not a lawyer, and I form no opinion here as to whether these design features

are in fact trade secrets under trade secret law. However, from my review of the photographs of

the MACOM MAAP-011247 power amplifier, it is my opinion that these design features are

present in the MACOM MAAP-011247 power amplifier.

         26.




                                                  13
    Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 14 of 17




    27.




    28.




 




                                  14
    Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 15 of 17


                                    




 




                                  15
        Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 16 of 17


                                                  


    VII.   CONCLUSION

       I declare under penalties of perjury under the laws of the United States that the foregoing

facts are true, and that the foregoing opinions are my own.



       Executed this 18th day of June, 2018.




                                                              Mark N. Horenstein, Ph.D.
 




                                               16
        Case 1:18-cv-11028-GAO Document 28 Filed 06/29/18 Page 17 of 17



                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing on June 29, 2018.


                                                   /s/ Steven M. Bauer
                                                   Steven M. Bauer
